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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE osJUL ,,6 FH 33 16

WESTER.N DIVISION
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FRED PERRY VON HOFE,
Plaintiff,
vs. Civ. No. 05~2351-Ma[P

MEMPHIS LIGHT GAS & WATER,r

Defendant.

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scHEDULING oRDER

 

Pursuant to Written notice, a scheduling conference was set
for July 7, 2005. Prior to the conference, Donald Donati and
William Ryan, counsel for plaintiff, and Stephen Biller, counsel
for defendant, submitted a joint proposed order which was approved
by the Court. The following dates were established as the final
dates for:

INITIAL DIscLosUREs PURSUANT To Fed.R.civ.P. 26(a)(1)=
August 10, 2005

JOINING PARTIES :
Plaintiff - September 12, 2005
Defendant - September 30, 2005

AMENDING PLEADINGS:

Plaintiff - September 12, 2005
Defendant - September 30, 2005

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INITIAL MOTIONS TO DISMISS: OCtOber 30, 2005
COMPLETING ALL DISCOVERY: MarCh 30, 2006
(a) DOCUMENT PRODUCTION: March 30, 2006

(b) DEPOSITIONS.r INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: March 30, 2006

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: January 31, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: February 28, 2006

(3) RULE 26(e) SUPPLEMENTATION: 60 days prior to trial
(4) EXPERT WITNESS DEPOSITIONS: MarCh 30, 2006

FILING DISPOSITIVE MOTIONS: May l, 2006

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection. to the default, response,
answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated. that the trial will last
approximately three (3) days.

At present, the parties do not believe this case is ready for
mediation or alternate dispute resolution. However, the parties
would like to reserve the option of suggesting mediation to the
court at a later date.

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The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.

TU M. PHAM
United States Magistrate Judge

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IT IS SO ORDERED.

   

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UNIED

Notice cf Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02351 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

 

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Honcrable Samuel Mays
US DISTRICT COURT

